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Sta MIDLAND

Y CHRISTIAN SCHOOL

 

February 9, 2021

To Whom It May Concern:

| have known Eliel Rosa for almost five years and know him as a strong Christian man, committed to the
preservation of religious freedom and liberty afforded to us by our Constitution. Eliel has served
Midland Christian School as a substitute for most of these five years and has always been reliable,
dependable and committed to the ideals and expectations of our wonderful school. While on our
campus, Eliel has shown a true compassion for the Christian education of children and a devotion to his
family and friends. Through his service in other faith-based, Christian ministries, Eliel has shown a high
moral Character and commitment to his Christian calling. Please reach out to me if you have any further
questions regarding Eliel Rosa and may God bless you.

In Him,

    

rintendent
Aidland @hristian School

 
  

Jared O. Lee, Superintendent e 432694-1661 e 2001Culver e Midland, Texas79705 e midlandchristianschool.org

Leading. Building. Equipping for Christ.

 
